                                                                                         FILED
          Case 1:20-cv-02148-CRC Document 4 Filed 08/05/20 Page 1 of 8


                                                                                          AUG - 5 2020
                                                                                    Clerk, U.S. District & Bankruptcy
                                     UNITED STATES DISTRICT COURT
                                                                                    Court for the District of Columbia
                                     FOR THE DISTRICT OF COLUMBIA
                                                                          Case: 1:20−cv−02148
    JANE DOE, M.D.,                                                       Assigned To : Kollar−Kotelly, Colleen
                                                                          Assign. Date : 8/5/2020
                                Plaintiff,                                Description: Pro Se Gen. Civ. (F−DECK)
                                                                 Civil Action No.
                                v.
                                                                 Chief Judge Beryl A. Howell
    STEVEN L. LIEBERMAN, et al.

                                Defendants.

                                       MEMORANDUM AND ORDER

         The pro se plaintiff, a physician who was employed by the Department of Veterans

                                                   and proposed termination, Compl. ¶ 1, ECF No. 1,

has moved to seal her case and proceed under the pseudonym Jane Doe, see



                  , in her instant action seeking, inter alia,

[her] clinical

For the reasons set forth below, the motion to proceed under pseudonym is granted while the

motion to seal the case is granted in part and denied in part. 1

I.       BACKGROUND

         From September 2014 until mid-

anesthesiologist an                                                      in its Eastern Colorado

                                       . Compl. ¶ 1. P

                                              id. ¶ 8, and



1
                                                                              . . motion[s] to seal the
complaint . . . and motion[s]                                                                  LCvR
40.7(f).


                                                         1
         Case 1:20-cv-02148-CRC Document 4 Filed 08/05/20 Page 2 of 8




comments about her interactions                                                                  id.

¶                                           18, ECHS summarily suspended [her] clinical

                                                     Id. ¶ 22. According to plaintiff, at the time of

her suspension,

                              Id.

clinical privileges had been revoked and she had been terminated

                           Id. ¶ 24. In support of this charge, her employer cited complaints

from four anonymous residents at her hospital and four alleged incidents of substandard

performance during hospital procedures. Id. She ap

Disciplinary Appeals Board. Id.                   -

appeals board upheld the charge of unprofessional conduct and recommended upholding the

revocation of her clinical privileges and her termination on January 15, 2020. Id. ¶ 26. The

                                                                  Id.

       Plaintiff was not notified of this result until June 30, 2020, at which point she

                                                                   e[d] . . . pending judicial

          Id. ¶ 27.

                                                                            because doing so would

irretrievably injure her in her professio                  Id.

       Plaintiff alleges that the appeals board made multiple legal errors in making its

decision. Id. ¶¶ 30

to uphold it. Id. ¶ 40. She has sued in an attempt to secure a declaration that defendants

conduct has violated her due process rights, an injunction prohibiting defendants from




                                                 2
           Case 1:20-cv-02148-CRC Document 4 Filed 08/05/20 Page 3 of 8




implementing their decisions and from filing an adverse report with the National Practitioner

Data Bank and the Colorado Medical Board. Id. at 18.

II.      LEGAL STANDARD

         As noted above, plaintiff has moved both to file her case under seal and to proceed

under pseudonym.

                                                                                          Hardaway v. D.C.

Hous. Auth., 843 F.3d 973, 980 (D.C. Cir. 2016) (quoting                                                 s Ctr., Inc.,

98 F.3d 1406, 1409 (D.C. Cir. 1996)). In a typical motion to seal court filings, courts

consider six factors, originally identified in United States v. Hubbard, 650 F.2d 293 (D.C. Cir.

1980), in determining whether that presumption may be overcome. 2 When, however, a

plaintiff initiating a lawsuit moves to file a case under seal simultaneously with the filing of

the complaint, the motion is more akin to a request to proceed under a pseudonym. In both

contexts, the plaintiff is seeking to conceal her identity from the public and thus the same

interests are at stake. For that reason, the legal standard applicable to motions to proceed

under pseudonym applies equally to plaintiff s motion to seal her case as well as her motion

to proceed under pseudonym.

         The requirement that the names of litigants be known to the public promotes a



                                                                             . . and, more specifically, from



2
          Those factors are:
                    (1) the need for public access to the documents at issue; (2) the extent of previous public
                    access to the documents; (3) the fact that someone has objected to disclosure, and the identity
                    of that person; (4) the strength of any property and privacy interests asserted; (5) the possibility
                    of prejudice to those opposing disclosure; and (6) the purposes for which the documents were
                    introduced during the judicial proceedings.
Metlife, Inc. v. Fin. Stability Oversight Council, 865 F.3d 661, 665 (D.C. Cir. 2017) (quoting         l
Ctr., 98 F.3d at 1409 (citing Hubbard, 650 F.2d at 317 22)).


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         Case 1:20-cv-02148-CRC Document 4 Filed 08/05/20 Page 4 of 8




                                              In re Sealed Case, 931 F.3d 92, 96 (D.C. Cir.

2019) (internal citations omitted) (quoting                                                     ,

89 F.3d 897, 899 (D.C. Cir. 1996)). Accordingly, parties to a lawsuit must typically openly

                                         United States v. Microsoft Corp., 56 F.3d 1448,

1463 64 (D.C. Cir. 1995) (per curiam) (internal quotation marks and citations omitted).

       In special circumstances, however, courts have permitted a party to proceed




anonymity against countervailing i                               In re Sealed Case, 931 F.3d at

96. When weighing those concerns, five factors, initially drawn from James v. Jacobson, 6



           These five factors are:

       (1) whether the justification asserted by the requesting party is merely to avoid the
       annoyance and criticism that may attend any litigation or is to preserve privacy in
       a matter of [a] sensitive and highly personal nature; (2) whether identification poses
       a risk of retaliatory physical or mental harm to the requesting party or[,] even more
       critically, to innocent non-parties; (3) the ages of the persons whose privacy
       interests are sought to be protected; (4) whether the action is against a governmental
       or private party; and relatedly, (5) the risk of unfairness to the opposing party from
       allowing an action against it to proceed anonymously.

Id. (citing James, 6 F.3d at 238).



                Id.                   rts should take into account other factors relevant to the

                                      Id. (quoting Sealed Plaintiff v. Sealed Defendant, 537

F.3d 185, 189 90 (2d Cir. 2008)).

anonymity . .                                  inquire into the circumstances of particular cases

                                                      . . tak[ing] into account the risk of



                                                4
         Case 1:20-cv-02148-CRC Document 4 Filed 08/05/20 Page 5 of 8




unfairness to the opposing party, as well the customary and constitutionally-embedded

                                                     Microsoft Corp., 56 F.3d at 1464 (quoting

James, 6 F.3d at 238 (other internal citations and quotation marks omitted)).

III.   DISCUSSION

       At this early stage of the litigation, this Court is persuaded that the named plaintiff has

met her burden of showing that her privacy interests outwe                             tive and

substantial interest in knowing the details of judicial litigation and should thus be permitted to

proceed under the pseudonym Jane Doe.



if her identity were                                                                           ..

                                                                                      the purpose

                                                                                   from reaching

the National Practitioner Data Bank. According to plaintiff, if an adverse report is made to



                                                       2. This factor thus weighs heavily in

favor of allowing her to proceed pseudonymously.

       Plaintiff concedes that the second and third factors are not at issue, as she does not fear

                                                            In re Sealed Case, 931 F.3d at 97.

                                         allowing the plaintiff to proceed under a pseudonym

will have no impact on any private rights, as the only defendants are government agencies and



with her appeal of her charge of unprofessional conduct. Allowing the plaintiff to proceed




                                                5
          Case 1:20-cv-02148-CRC Document 4 Filed 08/05/20 Page 6 of 8




                                                                                                        s v.

Chao, 587 F. Supp. 2d 90, 99 (D.D.C. 2008). Finally, any public interest in disclosing the

identity of the plaintiff is significantly outweighed by the

and career disclosure would entail.

        In sum, weighed against

significant interest in maintaining her anonymity at this early stage in the litigation is more

than sufficient to overcome any general presumption in favor of open proceedings. See

Horowitz v. Peace Corps, 428 F.3d 271, 278 (D.C. Cir. 2005)



                                                                                         , 879 F.2d 873,

879 (D.C. Cir. 1989))).

                                       the entire case is thus somewhat superfluous and is certainly

overbroad. Plaintiff requests sealing of the complaint, the motion to seal, and the motion to

proceed under pseudonym, all of which contain

effectuate her motion to proceed under pseudonym. 3



documents either contain numerous references to her true identity or would provide the public



Sealing the entire case is unnecessary when the narrower remedy of allowing plaintiff to

proceed anonymously achieves the end plaintiff is after. As noted, the complaint, motion to




3
                                                                              y Restraining Order and
                                                                                                         appears
to have been filed                     Should plaintiff file such a motion and should she believe it warrants
sealing, she may make a motion to the District Court Judge randomly assigned to this case.


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         Case 1:20-cv-02148-CRC Document 4 Filed 08/05/20 Page 7 of 8




should be sealed, she can make a motion to do just that before the District Court Judge to

whom this case is randomly assigned.

IV.     CONCLUSION AND ORDER

        For the foregoing reasons, it is hereby

        ORDERED                                                                      GRANTED,

subject to any further consideration by the United States District Judge to whom this case is

randomly assigned,                                                        Jane Doe

plaintiff; and it is further

        ORDERED                          Motion to Seal is GRANTED in part and DENIED

in part; it is further

        ORDERED                          Complaint, Motion to Seal, and Motion to Proceed

Under Pseudonym and supporting exhibits, each of which reflects the full name of the

plaintiff, shall remain under seal until further order of the Court; and it is further

        ORDERED

case, including any subsequent filings, that motion is DENIED; and it is further

        ORDERED that plaintiff is directed within seven days to file on the public docket a




                                                  7
         Case 1:20-cv-02148-CRC Document 4 Filed 08/05/20 Page 8 of 8




       ORDERED

identity or any personal identifying information that could lead to the identification of the

plaintiff by nonparties, except for the purposes of investigating the allegations contained in

the Complaint and for preparing an answer or other dispositive motion in response.

       SO ORDERED.

       Date: August 5, 2020

                                                      __________________________
                                                      BERYL A. HOWELL
                                                      Chief Judge




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